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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA Amant
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iS. District Court, Diss oe out, |

District of Columbia

US DOMINION, INC., DOMINION
VOTING SYSTEMS, INC., and
DOMINION VOTING SYSTEMS
CORPORATION

c/o Cogency Global Civil Action No. 1:21-cv-00213-CJN
1025 Vermont Ave, NW, Ste. 1130
Washington, DC 20005

Jury Demanded
Plaintiffs,

V.
RUDOLPH W. GIULIANI
45 East 66" Street, Apt. 10W
New York, NY 10065

Defendant,

 

 

DEFENDANT’S UNOPPOSED MOTION
TO EXTEND TIME TO RESPOND TO PLAINTIFFS’ ORIGINAL COMPLAINT

Pursuant to FED. R. Civ. P. 6(b) and without waiving any defenses under FED. R. CIv. P.
12 (other than service of process), Defendant Rudolph W. Giuliani (“Defendant”) hereby files his
Unopposed Motion to Extend Time to Respond to Plaintiffs’ Original Complaint (“Complaint”)
[Doc. 1], and would respectfully show the Court as follows:
I. GROUNDS FOR MOTION
1. Plaintiffs commenced this action on January 25, 2021, filing a 107-page Complaint with
over 150 exhibits. See generally Doc. 1.
2. Defendant was served on February 10, 2021. See Doc. 8.

3. Defendant’s current deadline to respond to the Complaint is March 3, 2021. See id.

 

4. Because the Complaint is voluminous and complex and because Defendant has recently

engaged counsel who is awaiting admission in the District for the District of Columbia,

DEFENDANT’S UNOPPOSED MOTION TO EXTEND TIME 1
TO RESPOND TO PLAINTIFF'S ORIGINAL COMPLAINT
Case 1:21-cv-00213-CJN Document11 Filed 03/04/21 Page 2 of 3

Defendant requires additional time to answer or otherwise respond to the Complaint until
April 7, 2021.

5. This is Defendant’s first request for an extension of time to respond to the Complaint and
the time for answering or otherwise responding to the Complaint has not yet expired.

6. Plaintiffs do not oppose this Motion.

7. This Motion is not made for purposes of delay, but so that Defendant and his counsel can
properly and adequately respond to the Complaint.

Il. PRAYER
Defendant respectfully requests that this Court extend Defendant’s time to answer or
otherwise respond to the Complaint up to and until April 7, 2021 in accordance with the proposed

order filed concurrently herewith.

Respectfully Submitted,

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45 East 66" Street, Apt. 10W
New York, NY 10065

DEFENDANT PRO SE
(Counsel’s Admission to D.D.C. pending)

DEFENDANT’S UNOPPOSED MOTION TO EXTEND TIME 2
TO RESPOND TO PLAINTIFF'S ORIGINAL COMPLAINT
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CERTIFICATE OF CONFERENCE

I certify that my counsel conferred with counsel for Plaintiffs, Tom Clare, via email on
February 26, 2021 and Plaintiffs are unopposed to this Motion.

Rudolph WYGiuliani

45 East 66" Street, Apt. 1OW
New York, NY 10065

CERTIFICATE OF SERVICE

I certify that the foregoing document was served via U.S. Mail on March 3, 2021 to:

Thomas A. Clare, P.C. (D.C. Bar No. 461964)
Megan L. Meier (D.C. Bar No. 985553)
Dustin A. Pusch (D.C. Bar No. 1015069)

10 Prince Street
Alexandria, VA 22314

Rudolph W¥Giuliani

45 East 66" Street, Apt. 10W
New York, NY 10065

DEFENDANT’S UNOPPOSED MOTION TO EXTEND TIME 3
TO RESPOND TO PLAINTIFF’S ORIGINAL COMPLAINT
